     Case 1:04-cr-00006-MW-GRJ           Document 641        Filed 04/24/06   Page 1 of 1


                                                                                     Page 1 of 1


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                            CASE NO. 1:04-cr-00006-MP-AK

DAVID LARRY JONES,

      Defendant.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 639, Motion to Continue Sentencing Hearing of

David Jones, filed by the government. The defendant does not object. The motion is granted,

and sentencing is hereby reset for Friday, June 23, 2006 at 10:30 a.m.


       DONE AND ORDERED this 24th day of April, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
